 Fill in this information to identify your case:

 Debtor 1                   Floyd E. Squires, III
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Betty J. Squires
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $        18,445,110.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             460,818.44

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $        18,905,928.44

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $          2,612,189.47

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $              12,802.47

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             416,515.96


                                                                                                                                     Your total liabilities $               3,041,507.90


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $              17,346.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 8,644.16

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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              Case: 17-10828                     Doc# 24              Filed: 12/01/17                    Entered: 12/01/17 17:52:29                               Page 1 of 66
 Debtor 1      Floyd E. Squires, III
 Debtor 2      Betty J. Squires                                                           Case number (if known) 17-10828

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $        13,500.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            12,802.47

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             12,802.47




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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           Case: 17-10828                    Doc# 24             Filed: 12/01/17    Entered: 12/01/17 17:52:29                     Page 2 of 66
 Fill in this information to identify your case and this filing:

 Debtor 1                    Floyd E. Squires, III
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Betty J. Squires
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF CALIFORNIA

 Case number            17-10828                                                                                                                               Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1429 Sunny Ave.
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Eureka                            CA        95501-0000                        Land                                       entire property?             portion you own?
        City                              State              ZIP Code                 Investment property                               $350,000.00                  $350,000.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
        Humboldt                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another
                                                                                                                                      Check if this is community property
                                                                                                                                       (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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               Case: 17-10828                      Doc# 24                  Filed: 12/01/17               Entered: 12/01/17 17:52:29                        Page 3 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2                                                                     What is the property? Check all that apply
       59 Ole Hanson Rd.                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative


                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
                                                                                Land
       Eureka                            CA        95501-0000                                                                  entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $75,000.00                    $75,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.3                                                                     What is the property? Check all that apply
       39 Ole Hanson Rd.                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $325,000.00                   $325,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 2
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 4 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.4                                                                     What is the property? Check all that apply
       2409 Lindstrom Ave.
       Street address, if available, or other description
                                                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Samoa                             CA        95564-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $300,000.00                   $300,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.5                                                                     What is the property? Check all that apply
       2445 Russ St.
       Street address, if available, or other description
                                                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                                Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $400,000.00                   $400,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 3
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 5 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.6                                                                     What is the property? Check all that apply
       1635 G St.                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $500,000.00                   $500,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.7                                                                     What is the property? Check all that apply
       1410 Union
       Street address, if available, or other description
                                                                               Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                                Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $300,000.00                   $300,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 4
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 6 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.8                                                                     What is the property? Check all that apply
       705 15th St.                                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $375,000.00                   $375,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.9                                                                     What is the property? Check all that apply
       1233 A St.                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $475,000.00                   $475,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 5
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 7 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.1
 0                                                                       What is the property? Check all that apply
       833 H St.                                                               Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $850,000.00                   $850,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.1
 1                                                                       What is the property? Check all that apply
       2535 L St.                                                                                                               Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                               Single-family home
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                                Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $400,000.00                   $400,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 6
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 8 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                         Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.1
 2                                                                       What is the property? Check all that apply
       202 Third                                                                                                                Do not deduct secured claims or exemptions. Put
       315 C
                                                                               Single-family home
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                                Duplex or multi-unit building
       Street address, if available, or other description                                                                      Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $560,000.00                   $560,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other     and Warehouse                         (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




       If you own or have more than one, list here:
 1.1
 3                                                                       What is the property? Check all that apply
       1637 3rd St.                                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                                the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative
                                                                           
                                                                               Manufactured or mobile home
                                                                                                                                Current value of the          Current value of the
       Eureka                            CA        95501-0000                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $400,000.00                   $400,000.00
                                                                               Timeshare
                                                                                                                                Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Humboldt                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another
                                                                                                                                    Check if this is community property
                                                                                                                                     (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 7
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              Case: 17-10828                      Doc# 24              Filed: 12/01/17             Entered: 12/01/17 17:52:29                              Page 9 of 66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.1
 4                                                                      What is the property? Check all that apply
       205 4th                                                                                                                 Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $375,000.00                   $375,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     Warehouse                             (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.1
 5                                                                      What is the property? Check all that apply
       2235 Broadway                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land
                                                                                                                               entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $100,000.00                   $100,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 8
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 10 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.1
 6                                                                      What is the property? Check all that apply
       2245 Broadway                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land
                                                                                                                               entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $1,300,000.00                    $1,300,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.1
 7                                                                      What is the property? Check all that apply
       1606 Koster                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $375,000.00                    $187,500.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     Office                                (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another             Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Undivided 1/2 interest with Rory Hanson




Official Form 106A/B                                                       Schedule A/B: Property                                                                              page 9
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 11 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.1
 8                                                                      What is the property? Check all that apply
       2941 California St.                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $3,000,000.00                    $3,000,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.1
 9                                                                      What is the property? Check all that apply
       2969 California St.                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                               $0.00                         $0.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                              page 10
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 12 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2
 0                                                                      What is the property? Check all that apply
       2325 2nd St.                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $310,000.00                   $310,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.2
 1                                                                      What is the property? Check all that apply
       117 5th St.                                                            Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $425,000.00                   $425,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 11
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 13 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2
 2                                                                      What is the property? Check all that apply
       241 Wabash Ave.                                                                                                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $410,000.00                   $410,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.2
 3                                                                      What is the property? Check all that apply
       1648 Nedra St.                                                                                                          Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $165,000.00                     $82,500.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Undivided 1/2 interest in Partnership (Rory Hanson/Floyd Squires)




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 12
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 14 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2
 4                                                                      What is the property? Check all that apply
       219 5th St.                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $1,125,110.00                    $1,125,110.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     Office Building                       (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.2
 5                                                                      What is the property? Check all that apply
       225 Wabash Ave.                                                                                                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $500,000.00                    $500,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Residence




Official Form 106A/B                                                       Schedule A/B: Property                                                                              page 13
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 15 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2
 6                                                                      What is the property? Check all that apply
       204 W Hawthorne                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $320,000.00                   $320,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.2
 7                                                                      What is the property? Check all that apply
       216 Third St.                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $925,000.00                   $925,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 14
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 16 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.2
 8                                                                      What is the property? Check all that apply
       3079 McKinleyville                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       McKinleyville                     CA        95519-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                 $1,000,000.00                    $1,000,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     6 Homes                               (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.2
 9                                                                      What is the property? Check all that apply
       218 Third St.                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
       220 Third St.                                                                                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                     Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $250,000.00                    $250,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                              page 15
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 17 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.3
 0                                                                      What is the property? Check all that apply
       607 - 609 Summer St.                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $800,000.00                   $800,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     2 buildings                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.3
 1                                                                      What is the property? Check all that apply
       805 H St.                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $600,000.00                   $600,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     2 buildings                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 16
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 18 of
                                                                                     66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                        Case number (if known)          17-10828

       If you own or have more than one, list here:
 1.3
 2                                                                      What is the property? Check all that apply
       1625 G St                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $650,000.00                   $650,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other     10 units                              (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




       If you own or have more than one, list here:
 1.3
 3                                                                      What is the property? Check all that apply
       1925 H St.                                                                                                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                              Single-family home
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Eureka                            CA        95501-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $425,000.00                   $425,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Humboldt                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                              At least one of the debtors and another
                                                                                                                                   Check if this is community property
                                                                                                                                    (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 17
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              Case: 17-10828                        Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 19 of
                                                                                     66
 Debtor 1         Floyd E. Squires, III
 Debtor 2         Betty J. Squires                                                                                              Case number (if known)          17-10828

        If you own or have more than one, list here:
 1.3
 4                                                                           What is the property? Check all that apply
        1803 C St                                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                     Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
                                                                                
                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Eureka                            CA        95501-0000                       Land                                            entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                    $350,000.00                   $350,000.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                     Debtor 1 only                                   Fee simple
        Humboldt                                                                     Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                     At least one of the debtors and another
                                                                                                                                          Check if this is community property
                                                                                                                                           (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                          $18,445,110.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Ford                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Mustang                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2015                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                         6,000             Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $40,000.00                    $40,000.00
                                                                           (see instructions)



  3.2     Make:         Jeep                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Wrangler                                         Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         1997                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                       75,000              Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                    $2,000.00                     $2,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 18
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               Case: 17-10828                        Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                             Page 20 of
                                                                                         66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                               Case number (if known)    17-10828

  3.3    Make:       Jeep                                                                                              Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Wrangler                                   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2007                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   29000           Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $7,000.00                   $7,000.00
                                                                     (see instructions)



  3.4    Make:       BMW                                                                                               Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Z4                                         Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2007                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                    9000           Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                          $10,100.00                  $10,100.00
                                                                     (see instructions)



  3.5    Make:       Newmar                                                                                            Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Motorhome                                  Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2007                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   29000           Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                          $80,000.00                  $80,000.00
                                                                     (see instructions)



  3.6    Make:       Cadillac                                                                                          Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Sedan Deville                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1979                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $1,500.00                   $1,500.00
                                                                     (see instructions)



  3.7    Make:       Dodge                                                                                             Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      3500                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2006                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   40000           Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.8    Make:       Ford                                                                                              Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Ranger                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1997                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                   75000           Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $1,500.00                   $1,500.00
                                                                     (see instructions)



Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 19
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                               Page 21 of
                                                                                   66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                               Case number (if known)    17-10828

  3.9    Make:       Ford                                                                                              Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Ranger                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2003                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 130000            Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $2,000.00                   $2,000.00
                                                                     (see instructions)


  3.1
  0      Make:       R-Pod                                                                                             Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        trailer
                                                                Check if this is community property                            $1,000.00                   $1,000.00
                                                                     (see instructions)


  3.1
  1      Make:                                                                                                         Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Motorcycle                                 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $4,000.00                   $4,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:       Reinell                                   Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      24' boat                                   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                         Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                          $2,000.00                     $2,000.00
                                                                     (see instructions)


  4.2    Make:       John Deere                                Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Gator ATV                                  Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2006                                       Debtor 2 only                                         Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                          $2,000.00                     $2,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 20
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                               Page 22 of
                                                                                   66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                   Case number (if known)       17-10828

  4.3    Make:       PJ                                        Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Trailer                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2002                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                     $900.00                     $900.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $159,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household goods and furnishings                                                                                                 $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Phone, iPad, computer                                                                                                           $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    some stamps                                                                                                                       $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.     Describe.....

                                    Hunting rifles and pistols                                                                                                      $1,500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 21
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                      Page 23 of
                                                                                   66
 Debtor 1          Floyd E. Squires, III
 Debtor 2          Betty J. Squires                                                                                         Case number (if known)   17-10828


                                            clothing and shoes                                                                                                       $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            Jewelry - wedding rings, costume pieces                                                                                  $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

                                            two dogs                                                                                                                       $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $11,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                          Checking
                                              17.1.       #xxxx4992                              Tri Counties Bank                                                   $1,818.44


                                                          Checking #
                                              17.2.       xxxxx5122                              Tri Counties Bank                                                         $0.00


                                                          Checking
                                              17.3.       #xxxxx9395                             Wells Fargo Bank                                                          $0.00


                                                          Checking
                                              17.4.       #xxxxx3348                             US Bank                                                                   $0.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 22
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              Case: 17-10828                             Doc# 24                  Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 24 of
                                                                                                66
 Debtor 1       Floyd E. Squires, III
 Debtor 2       Betty J. Squires                                                                         Case number (if known)      17-10828

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                      % of ownership:

                                         Rory Hanson and Floyd Squires partnership in
                                         1648 Nedra St., Eureka                                                50%          %                      $82,500.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                      Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                               Institution name or individual:


                                      Other                                 Bond lodged with Humboldt County Superior                              $52,000.00
                                                                            Court


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

                                              FB Squires Family Trust (Revocable)                                                                    Unknown


                                              Downtown Familty Trust (Revocable)                                                                     Unknown


                                              Squires Downtown Family Trust (Revocable)                                                              Unknown


                                              Squires Old Town Family Trust (Revocable)                                                              Unknown



Official Form 106A/B                                                    Schedule A/B: Property                                                            page 23
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                        Page 25 of
                                                                                   66
 Debtor 1       Floyd E. Squires, III
 Debtor 2       Betty J. Squires                                                                          Case number (if known)   17-10828

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                           Beneficiary:                         Surrender or refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

                                                      Mark Adams, et al. - Slander of Title, Torts.
                                                      City of Eureka - tortious abatement proceedings
                                                      State of California - over 10 pending insurance claims                                       Unknown


35. Any financial assets you did not already list
     No
     Yes. Give specific information..

Official Form 106A/B                                                    Schedule A/B: Property                                                          page 24
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                      Page 26 of
                                                                                   66
 Debtor 1        Floyd E. Squires, III
 Debtor 2        Betty J. Squires                                                                                                Case number (if known)        17-10828

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $136,318.44


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        4 desks, 3 tables, 3 chairs, 6 file cabinets, 1 computer                                                                                $1,500.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.      Describe.....


                                        table saws, 3 routers, wood working equipment, band saw and
                                        hand tools                                                                                                                              $3,000.00


41. Inventory
     No
     Yes. Describe.....

42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                             Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....

44. Any business-related property you did not already list
     No
     Yes. Give specific information.........



Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 25
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             Case: 17-10828                        Doc# 24              Filed: 12/01/17 Entered: 12/01/17 17:52:29                                               Page 27 of
                                                                                      66
 Debtor 1         Floyd E. Squires, III
 Debtor 2         Betty J. Squires                                                                                                      Case number (if known)   17-10828


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                  $4,500.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........
                                               Defamation claims to City of Eureka, filed with City Insur. REMIF                                                              $150,000.00


                                               Claims against City of Eureka, County of Humboldt, Hamad Shiribati
                                               for damage to premises @ 211 5th St., Eureka, CA (estimated damage
                                               @ $72,000)                                                                                                                         Unknown



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $150,000.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $18,445,110.00
 56. Part 2: Total vehicles, line 5                                                                         $159,000.00
 57. Part 3: Total personal and household items, line 15                                                     $11,000.00
 58. Part 4: Total financial assets, line 36                                                                $136,318.44
 59. Part 5: Total business-related property, line 45                                                         $4,500.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +         $150,000.00

 62. Total personal property. Add lines 56 through 61...                                                    $460,818.44               Copy personal property total            $460,818.44

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $18,905,928.44




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 26
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              Case: 17-10828                         Doc# 24                Filed: 12/01/17 Entered: 12/01/17 17:52:29                                               Page 28 of
                                                                                          66
 Fill in this information to identify your case:

 Debtor 1                Floyd E. Squires, III
                         First Name                         Middle Name                    Last Name

 Debtor 2                Betty J. Squires
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      225 Wabash Ave. Eureka, CA 95501                                                                                           C.C.P. § 704.950
      Humboldt County
                                                                     $500,000.00                               $175,000.00
      Residence                                                                          100% of fair market value, up to
      Line from Schedule A/B: 1.25                                                           any applicable statutory limit

      2007 Jeep Wrangler 29000 miles                                                                                             C.C.P. § 704.010
      Line from Schedule A/B: 3.3
                                                                       $7,000.00                                  $3,050.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Household goods and furnishings                                                                                            C.C.P. § 704.020
      Line from Schedule A/B: 6.1
                                                                       $5,000.00                                  $5,000.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Phone, iPad, computer                                                                                                      C.C.P. § 704.020
      Line from Schedule A/B: 7.1
                                                                       $1,500.00                                  $1,500.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      some stamps                                                                                                                C.C.P. § 704.040
      Line from Schedule A/B: 8.1
                                                                          $500.00                                   $500.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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               Case: 17-10828                  Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                            Page 29 of
                                                                                   66
 Debtor 1    Floyd E. Squires, III
 Debtor 2    Betty J. Squires                                                                            Case number (if known)     17-10828
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Hunting rifles and pistols                                                                                                   C.C.P. § 704.020
     Line from Schedule A/B: 10.1
                                                                       $1,500.00                                $1,500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     clothing and shoes                                                                                                           C.C.P. § 704.020
     Line from Schedule A/B: 11.1
                                                                       $1,000.00                                $1,000.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry - wedding rings, costume                                                                                             C.C.P. § 704.040
     pieces
                                                                       $1,500.00                                $1,500.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     4 desks, 3 tables, 3 chairs, 6 file                                                                                          C.C.P. § 704.060
     cabinets, 1 computer
                                                                       $1,500.00                                $1,500.00
     Line from Schedule A/B: 39.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     table saws, 3 routers, wood working                                                                                          C.C.P. § 704.060
     equipment, band saw and hand tools
                                                                       $3,000.00                                $3,000.00
     Line from Schedule A/B: 40.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                             Page 30 of
                                                                                   66
 Fill in this information to identify your case:

 Debtor 1                   Floyd E. Squires, III
                            First Name                       Middle Name                     Last Name

 Debtor 2                   Betty J. Squires
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Beneficial Financial                      Describe the property that secures the claim:                $88,000.00              $475,000.00                   $0.00
         Creditor's Name                           1233 A St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
         PO Box 1231                               apply.
         Brandon, FL 33509-1231                     Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2     Beneficial Financial                      Describe the property that secures the claim:              $195,000.00            $3,000,000.00                    $0.00
         Creditor's Name                           2941 California St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
         PO Box 1274                               apply.
         Brandon, FL 33509                          Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 11
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               Case: 17-10828                     Doc# 24            Filed: 12/01/17 Entered: 12/01/17 17:52:29                                  Page 31 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


 2.3    Beneficial Financial                       Describe the property that secures the claim:                $195,000.00               $0.00    $195,000.00
        Creditor's Name
                                                   2969 California St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        PO Box 1274                                apply.
        Brandon, FL 33509                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.4    Bradford Floyd                             Describe the property that secures the claim:                 $10,000.00         $350,000.00             $0.00
        Creditor's Name
                                                   1429 Sunny Ave. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        819 Seventh St.                            apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.5    Bradford Floyd                             Describe the property that secures the claim:                $125,000.00         $400,000.00             $0.00
        Creditor's Name                            2535 L St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        819 Seventh St.                            apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.6    Chase                                      Describe the property that secures the claim:                 $10,426.17         $300,000.00             $0.00


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 32 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


        Creditor's Name
                                                   1410 Union Eureka, CA 95501
                                                   Humboldt County
        P.O. Box 24696
                                                   As of the date you file, the claim is: Check all that
        Columbus, OH                               apply.
        43224-0696                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.7    Chase                                      Describe the property that secures the claim:                 $22,633.73         $375,000.00              $0.00
        Creditor's Name                            705 15th St. Eureka, CA 95501
                                                   Humboldt County
        P.O. Box 24696
                                                   As of the date you file, the claim is: Check all that
        Columbus, OH                               apply.
        43224-0696                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.8    Francis Family Trust                       Describe the property that secures the claim:                $235,000.00        $1,125,110.00             $0.00
        Creditor's Name                            219 5th St. Eureka, CA 95501
                                                   Humboldt County
        PO Box 9208
                                                   As of the date you file, the claim is: Check all that
        Rancho Santa Fe, CA                        apply.
        92067                                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.9    Freedom Road Financial                     Describe the property that secures the claim:                   $4,190.00          $4,000.00          $190.00



Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                            Page 33 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


        Creditor's Name
                                                   Motorcycle

                                                   As of the date you file, the claim is: Check all that
        PO Box 4597                                apply.
        Oak Brook, IL 60522-4597                    Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         8/15                        Last 4 digits of account number        8893

 2.1
 0      Joanne Quintrell                           Describe the property that secures the claim:                 $28,500.00        $1,300,000.00             $0.00
        Creditor's Name
                                                   2245 Broadway Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        3504 Edgewood Dr.                          apply.
        Eureka, CA 95503                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.1
 1      John R. Morrison                           Describe the property that secures the claim:                $190,000.00         $600,000.00              $0.00
        Creditor's Name
                                                   805 H St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        3600 M St.                                 apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                            Page 34 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


 2.1
 2      M&T Bank                                   Describe the property that secures the claim:                 $92,000.00         $850,000.00             $0.00
        Creditor's Name                            833 H St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        PO Box 619063                              apply.
        Dallas, TX 75261-9063                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.1
 3      Ocwen Loan Servicing                       Describe the property that secures the claim:                 $62,411.74         $325,000.00             $0.00
        Creditor's Name
                                                   39 Ole Hanson Rd. Eureka, CA
                                                   95501 Humboldt County
        PO Box 24738
                                                   As of the date you file, the claim is: Check all that
        West Palm Beach, FL                        apply.
        33416-4738                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.1
 4      Ocwen Loan Servicing                       Describe the property that secures the claim:                 $27,135.68         $300,000.00             $0.00
        Creditor's Name
                                                   2409 Lindstrom Ave. Samoa, CA
                                                   95564 Humboldt County
        PO Box 24738
                                                   As of the date you file, the claim is: Check all that
        West Palm Beach, FL                        apply.
        33416-4738                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 35 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name




 2.1
 5      Ocwen Loan Servicing                       Describe the property that secures the claim:                 $36,853.56         $400,000.00             $0.00
        Creditor's Name
                                                   2445 Russ St. Eureka, CA 95501
                                                   Humboldt County
        PO Box 24738
                                                   As of the date you file, the claim is: Check all that
        West Palm Beach, FL                        apply.
        33416-4738                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.1
 6      Ocwen Loan Servicing                       Describe the property that secures the claim:                 $67,933.59         $500,000.00             $0.00
        Creditor's Name
                                                   1635 G St. Eureka, CA 95501
                                                   Humboldt County
        PO Box 24738
                                                   As of the date you file, the claim is: Check all that
        West Palm Beach, FL                        apply.
        33416-4738                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.1
 7      Provident Credit Union                     Describe the property that secures the claim:                 $44,000.00          $40,000.00       $4,000.00
        Creditor's Name                            2015 Ford Mustang 6,000 miles

                                                   As of the date you file, the claim is: Check all that
        2916 Central Ave.                          apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt



Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 6 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 36 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


 Date debt was incurred         1/2016                      Last 4 digits of account number


 2.1
 8      Provident Credit Union                     Describe the property that secures the claim:                 $82,000.00          $80,000.00       $2,000.00
        Creditor's Name
                                                   2007 Newmar Motorhome 29000
                                                   miles
                                                   As of the date you file, the claim is: Check all that
        2916 Central Ave.                          apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         1/2016                      Last 4 digits of account number


 2.1
 9      Rory Hanson                                Describe the property that secures the claim:                        $0.00             $0.00             $0.00
        Creditor's Name



                                                   As of the date you file, the claim is: Check all that
        305 K St.                                  apply.
        Eureka, CA 95501                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 0      Select Portfolio Servicing                 Describe the property that secures the claim:                 $20,105.00         $350,000.00             $0.00
        Creditor's Name                            1429 Sunny Ave. Eureka, CA 95501
                                                   Humboldt County
        P.O. Box 65250
                                                   As of the date you file, the claim is: Check all that
        Salt Lake City, UT                         apply.
        84165-0250                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 7 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 37 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 1      State Farm Bank                            Describe the property that secures the claim:                   $1,000.00          $1,000.00             $0.00
        Creditor's Name                            R-Pod
                                                   trailer
        PO Box 3299
                                                   As of the date you file, the claim is: Check all that
        Milwaukee, WI                              apply.
        53201-3299                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        0001

 2.2
 2      Superior Loan Servicing                    Describe the property that secures the claim:                $180,000.00         $500,000.00             $0.00
        Creditor's Name                            225 Wabash Ave. Eureka, CA 95501
                                                   Humboldt County
        24013 Ventura Blvd., Ste.                  Residence
                                                   As of the date you file, the claim is: Check all that
        200                                        apply.
        Calabasas, CA 91302                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 3      Trueman Vroman                             Describe the property that secures the claim:                 $65,000.00         $400,000.00             $0.00
        Creditor's Name
                                                   1637 3rd St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 38 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 4      Trueman Vroman                             Describe the property that secures the claim:                 $45,000.00         $310,000.00             $0.00
        Creditor's Name
                                                   2325 2nd St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 5      Trueman Vroman                             Describe the property that secures the claim:                $100,000.00         $410,000.00             $0.00
        Creditor's Name                            241 Wabash Ave. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 6      Trueman Vroman                             Describe the property that secures the claim:                 $60,000.00         $320,000.00             $0.00
        Creditor's Name
                                                   204 W Hawthorne Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 9 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 39 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name


  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 7      Trueman Vroman                             Describe the property that secures the claim:                 $35,000.00         $925,000.00              $0.00
        Creditor's Name                            216 Third St. Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 8      Trueman Vroman                             Describe the property that secures the claim:                $525,000.00        $1,000,000.00             $0.00
        Creditor's Name
                                                   3079 McKinleyville McKinleyville,
                                                   CA 95519 Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2
 9      Trueman Vroman                             Describe the property that secures the claim:                 $20,000.00         $800,000.00              $0.00
        Creditor's Name
                                                   607 - 609 Summer St. Eureka, CA
                                                   95501 Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.



Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 10 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                            Page 40 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III                                                                            Case number (if know)   17-10828
              First Name                  Middle Name                     Last Name
 Debtor 2 Betty J. Squires
              First Name                  Middle Name                     Last Name



  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.3
 0      Trueman Vroman                             Describe the property that secures the claim:                 $45,000.00           $650,000.00               $0.00
        Creditor's Name
                                                   1625 G St Eureka, CA 95501
                                                   Humboldt County
                                                   As of the date you file, the claim is: Check all that
        2950 E Street, Ste. C                      apply.
        Eureka, CA 95501-4334                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                             $2,612,189.47
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $2,612,189.47

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 11 of 11
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             Case: 17-10828                      Doc# 24             Filed: 12/01/17 Entered: 12/01/17 17:52:29                             Page 41 of
                                                                                   66
 Fill in this information to identify your case:

 Debtor 1                   Floyd E. Squires, III
                            First Name                      Middle Name                        Last Name

 Debtor 2                   Betty J. Squires
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          EDD                                                    Last 4 digits of account number                            $489.17              $489.17                $0.00
              Priority Creditor's Name
              State of California                                    When was the debt incurred?           12/31/2014 - 6/30/2015
              Bankruptcy Unit - MIC 92E
              P.O. Box 826880
              Sacramento, CA 94280-0001
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a    community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 18
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               Case: 17-10828                  Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                       Page 42 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                   Case number (if know)           17-10828

 2.2        IRS                                                      Last 4 digits of account number                        $12,313.30             $12,313.30                    $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?         3/31/2010 - 9/30/2015
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a     community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes
 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Bruce Beswick                                              Last 4 digits of account number                                                                       $750.00
            Nonpriority Creditor's Name
            635 Wabash Ave.                                            When was the debt incurred?
            Eureka, CA 95501
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a    community                 Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 18
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              Case: 17-10828                   Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                          Page 43 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.2      Bunia Enterprises Inc.                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5330 Blue Bell Ave.                                         When was the debt incurred?
          Valley Village, CA 91607
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3      California Receivership Group LLC                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          150 S. Barrington Ave., Ste. 100                            When was the debt incurred?
          Los Angeles, CA 90049
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     subject to setoff


 4.4      Capital One                                                 Last 4 digits of account number       2963                                              $8,188.00
          Nonpriority Creditor's Name
          PO Box 60599                                                When was the debt incurred?
          City of Industry, CA 91716-0599
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 44 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.5      Charles Ondricek                                            Last 4 digits of account number                                                         $4,000.00
          Nonpriority Creditor's Name
          1702 H St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6      City of Eureka                                              Last 4 digits of account number                                                         $5,300.00
          Nonpriority Creditor's Name
          531 K St.                                                   When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7      City of Eureka                                              Last 4 digits of account number                                                      $250,000.00
          Nonpriority Creditor's Name
          531 K St.                                                   When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 45 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.8      Colin Vance                                                 Last 4 digits of account number                                                         $6,000.00
          Nonpriority Creditor's Name
          PO Box 89                                                   When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9      County of Humboldt                                          Last 4 digits of account number                                                         $4,400.00
          Nonpriority Creditor's Name
          825 5th St.                                                 When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 0        Ditech                                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 6172                                                 When was the debt incurred?
          Rapid City, SD 57709-6172
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 46 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.1
 1        G&G Capital, LLC                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          220 S. Camden Dr.                                           When was the debt incurred?
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 2        Gerald Feldman                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          220 S. Camden Dr.                                           When was the debt incurred?
          Beverly Hills, CA 90210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 3        Hensell Materials, Inc.                                     Last 4 digits of account number                                                         $3,100.00
          Nonpriority Creditor's Name
          PO Box 4925                                                 When was the debt incurred?
          Eureka, CA 95502-4825
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 47 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.1
 4        Home Depot Credit Services                                  Last 4 digits of account number       7982                                            $10,502.14
          Nonpriority Creditor's Name
          PO Box 78011                                                When was the debt incurred?
          Phoenix, AZ 85062-8011
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 5        Home Depot Credit Services                                  Last 4 digits of account number       9129                                              $1,646.00
          Nonpriority Creditor's Name
          P.O. Box 790345                                             When was the debt incurred?
          Saint Louis, MO 63179-0345
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 6        Humboldt County Tax Collector                               Last 4 digits of account number                                                       $16,000.00
          Nonpriority Creditor's Name
          County Courthouse                                           When was the debt incurred?
          825 Fifth St., Rm. 125
          Eureka, CA 95501-1100
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 48 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.1
 7        Humboldt Recology                                           Last 4 digits of account number                                                       $15,600.00
          Nonpriority Creditor's Name
          949 W. Hawthorne                                            When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 8        James Sousa                                                 Last 4 digits of account number                                                           $750.00
          Nonpriority Creditor's Name
          440 Solaris Ln.                                             When was the debt incurred?
          Bayside, CA 95524
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 9        Jessica Bell                                                Last 4 digits of account number                                                           $750.00
          Nonpriority Creditor's Name
          1420 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 49 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.2
 0        Jo Gonzales                                                 Last 4 digits of account number                                                           $750.00
          Nonpriority Creditor's Name
          PO Box 419                                                  When was the debt incurred?
          Eureka, CA 95502-0419
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 1        Jose Gonzales                                               Last 4 digits of account number                                                         $2,250.00
          Nonpriority Creditor's Name
          PO Box 419                                                  When was the debt incurred?
          Eureka, CA 95502-0419
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 2        Kasturbai Bennett                                           Last 4 digits of account number                                                           $750.00
          Nonpriority Creditor's Name
          1705 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 9 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 50 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.2
 3        Kaycee Cook                                                 Last 4 digits of account number                                                         $1,500.00
          Nonpriority Creditor's Name
          1506 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 4        Kevin Bell                                                  Last 4 digits of account number                                                           $750.00
          Nonpriority Creditor's Name
          1428 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 5        Laura Sells                                                 Last 4 digits of account number                                                         $1,500.00
          Nonpriority Creditor's Name
          627 Wabash Ave.                                             When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 10 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 51 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.2
 6        Lori Regalo                                                 Last 4 digits of account number                                                         $3,000.00
          Nonpriority Creditor's Name
          1528 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 7        Manfred Kallenbach                                          Last 4 digits of account number                                                         $3,000.00
          Nonpriority Creditor's Name
          1604 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 8        Mark Adams                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          c/o TLS                                                     When was the debt incurred?
          PO Box 910739
          San Diego, CA 92191-0739
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     subject to setoff




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 11 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 52 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.2
 9        Mark Adams                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          c/o Total Lender Solutions, Inc.                            When was the debt incurred?
          10951 Sorrento Valley Rd., Ste. 2F
          San Diego, CA 92121
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     subject to setoff


 4.3
 0        Mark S. Adams                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2716 Ocean Park Blvd., Ste. 3010                            When was the debt incurred?
          Santa Monica, CA 90405
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     subject to setoff


 4.3
 1        Martha Witchurch                                            Last 4 digits of account number                                                         $3,000.00
          Nonpriority Creditor's Name
          1711 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 12 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 53 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.3
 2        Melanie Kuhnel                                              Last 4 digits of account number                                                         $4,500.00
          Nonpriority Creditor's Name
          1604 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 3        Michael East                                                Last 4 digits of account number                                                         $1,500.00
          Nonpriority Creditor's Name
          1506 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 4        National Funding                                            Last 4 digits of account number                                                       $16,000.00
          Nonpriority Creditor's Name
          9820 Towne Centre Dr.                                       When was the debt incurred?
          San Diego, CA 92121
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 13 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 54 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.3
 5        Nelson Floor Co.                                            Last 4 digits of account number                                                         $1,600.00
          Nonpriority Creditor's Name
          414 West Harris St.                                         When was the debt incurred?
          Eureka, CA 95503
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 6        Pamela Sistrom                                              Last 4 digits of account number                                                         $4,000.00
          Nonpriority Creditor's Name
          PO Box 7293                                                 When was the debt incurred?
          Eureka, CA 95502-5000
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 7        Paul Regalo                                                 Last 4 digits of account number                                                         $3,000.00
          Nonpriority Creditor's Name
          1528 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 14 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 55 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.3
 8        PayPal                                                      Last 4 digits of account number       8403                                                $699.82
          Nonpriority Creditor's Name
          PO Box 960080                                               When was the debt incurred?
          Orlando, FL 32896-0080
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 9        PG&E                                                        Last 4 digits of account number                                                         $6,100.00
          Nonpriority Creditor's Name
          PO Box 9973000                                              When was the debt incurred?
          Sacramento, CA 95899-7300
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 0        Richard Chase                                               Last 4 digits of account number                                                         $6,000.00
          Nonpriority Creditor's Name
          1615 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 15 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 56 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.4
 1        Richard Daly                                                Last 4 digits of account number                                                         $5,000.00
          Nonpriority Creditor's Name
          123 F St.                                                   When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 2        Ron Kuhnel                                                  Last 4 digits of account number                                                         $4,500.00
          Nonpriority Creditor's Name
          1604 G St.                                                  When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 3        Schmidbauer Lumber                                          Last 4 digits of account number                                                         $4,800.00
          Nonpriority Creditor's Name
          839 W. Washington                                           When was the debt incurred?
          Eureka, CA 95501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 16 of 18
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 57 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                                 Case number (if know)        17-10828

 4.4
 4         State Farm Bank                                            Last 4 digits of account number                                                       $12,000.00
           Nonpriority Creditor's Name
           PO Box 3299                                                When was the debt incurred?
           Milwaukee, WI 53201-3299
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community                Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify

 4.4
 5         Vern's Furniture                                           Last 4 digits of account number                                                         $3,000.00
           Nonpriority Creditor's Name
           515 G St.                                                  When was the debt incurred?
           Eureka, CA 95501
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community                Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify

 4.4
 6         Walmart                                                    Last 4 digits of account number       7103                                                $330.00
           Nonpriority Creditor's Name
           P.O. Box 530927                                            When was the debt incurred?
           Atlanta, GA 30353-0927
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community                Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 17 of 18
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            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                                     Page 58 of
                                                                                   66
 Debtor 1 Floyd E. Squires, III
 Debtor 2 Betty J. Squires                                                                              Case number (if know)    17-10828

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                12,802.47
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                12,802.47

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $              416,515.96

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $              416,515.96




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 18
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy

            Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                           Page 59 of
                                                                                   66
 Fill in this information to identify your case:

 Debtor 1                 Floyd E. Squires, III
                          First Name                         Middle Name              Last Name

 Debtor 2                 Betty J. Squires
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.         You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

               Case: 17-10828                  Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                          Page 60 of
                                                                                   66
 Fill in this information to identify your case:

 Debtor 1                   Floyd E. Squires, III
                            First Name                            Middle Name         Last Name

 Debtor 2                   Betty J. Squires
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF CALIFORNIA

 Case number           17-10828
 (if known)
                                                                                                                              Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy

               Case: 17-10828                     Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29              Page 61 of
                                                                                      66
Fill in this information to identify your case:

Debtor 1                      Floyd E. Squires, III

Debtor 2                      Betty J. Squires
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF CALIFORNIA

Case number               17-10828                                                                      Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Self employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $       0.00




Official Form 106I                                                   Schedule I: Your Income                                                      page 1
              Case: 17-10828              Doc# 24         Filed: 12/01/17      Entered: 12/01/17 17:52:29                           Page 62 of
                                                                        66
Debtor 1    Floyd E. Squires, III
Debtor 2    Betty J. Squires                                                                      Case number (if known)    17-10828


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
      5e.    Insurance                                                                     5e.        $              0.00     $                0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
      5g.    Union dues                                                                    5g.        $              0.00     $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      10,455.00        $        5,000.00
      8b. Interest and dividends                                                           8b.        $           0.00        $            0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $           0.00        $            0.00
      8d. Unemployment compensation                                                        8d.        $           0.00        $            0.00
      8e. Social Security                                                                  8e.        $         886.00        $        1,005.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          11,341.00        $           6,005.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              11,341.00 + $        6,005.00 = $           17,346.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          17,346.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                               Schedule I: Your Income                                                                page 2
            Case: 17-10828            Doc# 24         Filed: 12/01/17      Entered: 12/01/17 17:52:29                             Page 63 of
                                                                    66
Fill in this information to identify your case:

Debtor 1                Floyd E. Squires, III                                                              Check if this is:
                                                                                                            An amended filing
Debtor 2                Betty J. Squires                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number           17-10828
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,100.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             54.16
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            225.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                          1,000.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
           Case: 17-10828                 Doc# 24         Filed: 12/01/17 Entered: 12/01/17 17:52:29                                  Page 64 of
                                                                        66
Debtor 1     Floyd E. Squires, III
Debtor 2     Betty J. Squires                                                                          Case number (if known)      17-10828

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 120.00
      6d. Other. Specify: wood for heating                                                   6d. $                                                 150.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                250.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 350.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 500.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  700.00
      15c. Vehicle insurance                                                               15c. $                                                  770.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  925.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,644.16
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,644.16
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              17,346.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,644.16

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              8,701.84

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
        Case: 17-10828                  Doc# 24           Filed: 12/01/17 Entered: 12/01/17 17:52:29                                      Page 65 of
                                                                        66
 Fill in this information to identify your case:

 Debtor 1                    Floyd E. Squires, III
                             First Name                     Middle Name             Last Name

 Debtor 2                    Betty J. Squires
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number              17-10828
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Floyd E. Squires, III                                                 X   /s/ Betty J. Squires
              Floyd E. Squires, III                                                     Betty J. Squires
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       December 1, 2017                                               Date    December 1, 2017




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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               Case: 17-10828                  Doc# 24               Filed: 12/01/17 Entered: 12/01/17 17:52:29                      Page 66 of
                                                                                   66
